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 1
 2
 3
 4
 5
 6
                            UNITED STATES DISTRICT COURT
 7                         EASTERN DISTRICT OF WASHINGTON
 8
       UNITED STATES OF AMERICA,              )     No. CR-11-181-WFN-2
 9                                            )
                    Plaintiff,                )     ORDER GRANTING MOTION AND
10                                            )     SETTING CONDITIONS
       v.                                     )     OF RELEASE
11                                            )
       CLAYTON DOUGLAS SIBBETT,               )      Motion Granted
12                                            )          (Ct. Rec. 319)
                    Defendant.                )
13                                            )      Action Required
                                              )
14                                            )      Status Conference:
                                                         4/24/12, 1:30 p.m.
15
            IT IS ORDERED that the release of the Defendant is subject to the
16
      following:
17
                           STANDARD CONDITIONS OF RELEASE
18
19
      (1)      Defendant shall not commit any offense in violation of
20             federal, state or local law.   Defendant shall advise the
               supervising Pretrial Services Officer and defense counsel
21             within one business day of any charge, arrest, or contact
               with law enforcement.
22
      (2)      Defendant shall immediately advise the court, defense counsel
23             and the U.S. Attorney in writing before any change in address
               and telephone number.
24
      (3)      Defendant shall appear at all proceedings as required and
25             shall surrender for service of any sentence imposed as
               directed.
26
      (4)      Defendant shall sign and complete A.O. 199C before being
27             released and shall reside at the addressed furnished.

28    (5)      Defendant shall not possess a firearm, destructive device or
               other dangerous weapon.

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 1    (6)      Defendant shall report to the United States Probation Office
               before or immediately after release and shall report as often
 2             as they direct, at such times and in such manner as they
               direct.
 3
      (7)      Defendant shall contact defense counsel at least once a week.
 4
      (8)      Defendant is further advised, pursuant to 18 U.S.C. § 922(n),
 5             it is unlawful for any person who is under indictment for a
               crime punishable by imprisonment for a term exceeding one
 6             year, to possess, ship or transport in interstate or foreign
               commerce any firearm or ammunition or receive any firearm or
 7             ammunition which has been shipped or transported in
               interstate or foreign commerce.
 8    (9)      Defendant shall refrain from the use or unlawful possession
               of a narcotic drug or other controlled substances defined in
 9             21 U.S.C. § 802, unless prescribed by a licensed medical
               practitioner.
10
                                            BOND
11
      (10)     Defendant shall:
12
             G Execute an unsecured appearance bond in the amount of
13           ___________________________________________________      dollars
             ($_____________) in the event of a failure to appear as required
14           or to surrender as directed for service of any sentence imposed.
15           G Execute an unsecured appearance bond, to be co-signed by
             _____________________________________,    in   the   amount   of
16           ___________________________________________________      dollars
             ($_____________) in the event of a failure to appear as required
17           or to surrender as directed for service of any sentence imposed.
18           G Execute:   G   $________________         corporate surety bond
                          G   $________________         property bond
19                        G   $________________         cash bond
                          G   $________________         percentage bond, with
20                                                      $_________ paid in cash
21                        ADDITIONAL CONDITIONS OF RELEASE
22    Upon finding that release by one of the above methods will not by
      itself reasonably assure the appearance of the Defendant and the
23    safety of other persons and the community:
24    IT IS FURTHER ORDERED that the release of the Defendant is subject
      to the following additional conditions:
25
      G     (11) The Defendant is placed with:
26
                 _______________________________________________________
27               Name of person or organization
                 _______________________________________________________
28               City and State                            Tele. Number
                 _______________________________________________________

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 1             Signature                                            Date
 2             who agrees to sign a copy of this Order, to be kept in
               Pretrial Services’ file; supervise the Defendant consistent
 3             with all the conditions of release; use every effort to
               assure the appearance of the Defendant at all scheduled
 4             court proceedings; and notify the court immediately in the
               event the Defendant violates any conditions of release or
 5             disappears.
 6    G   (12) Maintain or actively seek lawful employment.
 7    G   (13) Maintain or commence an education program.
 8    G   (14) Surrender any passport to Pretrial Services and shall not
               apply for a new passport.
 9
       (15) Defendant shall remain in the:
10
                Eastern District of Washington, or G State of Washington
11
               while the case is pending. On a showing of necessity, and
12             with prior notice by the defense to the assigned Assistant
               U.S. Attorney, the Defendant may obtain prior written
13             permission to temporarily leave this area from the United
               States Probation Office.
14
               G Exceptions: ___________________________________________
15
      G (16) Avoid all contact, direct or indirect, with any persons who
16           are or who may become a victim or potential witness in the
             subject investigation or prosecution, including but not
17           limited to:
             __________________________________________________________
18
       (17) Avoid all contact, direct or indirect, with:
19
               G Known felons       Co-Defendant(s)
20
      G   (18) Undergo medical or psychiatric treatment and/or remain in an
21             institution as follows:
               _________________________________________________________
22
       (19) Refrain from:          any         G excessive use of alcohol
23
       (20) There shall be no alcohol in the home where Defendant
24             resides.
25     (21) There shall be no firearms in the home where Defendant
               resides.
26
      G   (22) Except for employment purposes, Defendant shall not have
27             access to the internet, including cell phones with internet
               access.
28
      G   (23) Defendant may not be in the presence of minors, unless a

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 1             responsible, knowledgeable adult is present at all times.
 2                   SUBSTANCE ABUSE EVALUATION AND TREATMENT
 3    If Defendant is required to submit to a substance abuse evaluation,
      inpatient or outpatient treatment, the following shall apply:
 4
      Defendant shall complete treatment indicated by an evaluation or
 5    recommended by Pretrial Services and shall comply with all rules of
      a treatment program. Defendant shall be responsible for the cost of
 6    testing, evaluation and treatment, unless the United States
      Probation Office should determine otherwise.     The United States
 7    Probation Office shall also determine the time and place of testing
      and evaluation and the scope of treatment. If Defendant fails in
 8    any way to comply or cooperate with the requirements and rules of a
      treatment program, Pretrial Services shall notify the court and the
 9    U.S. Marshal, who will be directed to immediately arrest the
      Defendant.
10
      Defendant shall participate           in   one   or     more   of   the   following
11    treatment programs:
12     (24) Substance Abuse Evaluation: Defendant shall undergo a
               substance abuse evaluation:
13
               G if directed by a U.S. Probation Officer
14
                as directed by a U.S. Probation Officer
15
               G Prior to release, Defendant must have an appointment for
16               a substance abuse evaluation, and the appointment must be
                 confirmed to the court by Pretrial Services. Defendant
17               will be released:
18                 G one day prior to; or
19                 G on the morning of his appointment
20     (25) Inpatient Treatment: Defendant shall participate in an
               intensive inpatient treatment program.
21
               G     Prior to release, an available bed and date of entry
22                   must be confirmed by Pretrial Services.
23             G     Defendant will be released to an agent of the inpatient
                     program on ____________________.
24
                    Prior to release from inpatient treatment, an
25                   outpatient treatment program must be presented to the
                     court.    If Defendant does not have a structured
26                   outpatient treatment program in place prior to
                     conclusion   of    inpatient    treatment,    Defendant
27                   automatically will go back into the custody of the U.S.
                     Marshal.
28
                    Following     inpatient        treatment,       Defendant      shall

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 1                   participate in an aftercare program.
 2    G   (26) Outpatient Treatment: Defendant               shall   participate      in
               intensive outpatient treatment.
 3
               G Prior to release, an appointment for Defendant’s first
 4               counseling session must be made and confirmed by Pretrial
                 Services. Defendant will be released:
 5
                  G one day prior to; or
 6
                  G on the morning of his appointment
 7
       (27) Other: Unless a confirmed aftercare program is in place,
 8             Defendant shall report to U.S. Probation on the last day of
               inpatient treatment for transport by the U.S. Marshal to the
 9             Spokane County Jail. If the last day is on a weekend, a
               responsible adult associate with Defendant shall transport
10             him directly to jail.
11     (28) Prohibited Substance Testing: If random urinalysis testing
               is not done through a treatment program, random urinalysis
12             testing shall be conducted through Pretrial Services, and
               shall not exceed six (6) times per month. Defendant shall
13             submit to any method of testing required by the Pretrial
               Service Office for determining whether the Defendant is
14             using a prohibited substance. Such methods may be used with
               random frequency and include urine testing, the wearing of
15             a sweat patch, a remote alcohol testing system, and/or any
               form of prohibited substance screening or testing.
16             Defendant shall refrain from obstructing or attempting to
               obstruct or tamper, in any fashion, with the efficiency and
17             accuracy of prohibited substance testing.      Full mutual
               releases shall be executed to permit communication between
18             the court, Pretrial Services, and the treatment vendor.
               Treatment shall not interfere with Defendant’s court
19             appearances.
20                 HOME CONFINEMENT/ELECTRONIC/GPS MONITORING
21    G   (29) Defendant shall participate in one or more of the following
               home confinement program(s):
22
               G Electronic Monitoring: The Defendant shall participate in
23             a program of electronically monitored home confinement. The
               Defendant shall wear, at all times, an electronic monitoring
24             device under the supervision of U.S. Probation.       In the
               event the Defendant does not respond to electronic
25             monitoring or cannot be found, the U.S. Probation Office
               shall forthwith notify the United States Marshals’ Service,
26             who shall immediately find, arrest and detain the Defendant.
               The Defendant shall pay all or part of the cost of the
27             program based upon ability to pay as determined by the U.S.
               Probation Office.
28
               G GPS Monitoring:       The Defendant shall participate in a

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 1             program of GPS confinement. The Defendant shall wear, at
               all times, a GPS device under the supervision of U.S.
 2             Probation. In the event the Defendant does not respond to
               GPS monitoring or cannot be found, the U.S. Probation Office
 3             shall forthwith notify the United States Marshals’ Service,
               who shall immediately find, arrest and detain the Defendant.
 4             The Defendant shall pay all or part of the cost of the
               program based up ability to pay as determined by the U.S.
 5             Probation Office.
 6             G Curfew:      Defendant     shall    be      restricted   to   his/her
               residence:
 7
                  G every day from ________ to ________
 8
                  G as directed by the Pretrial Services Office
 9
               G Home detention: Defendant shall be restricted to his/her
10             residence at all times except for: attorney visits; court
               appearances;     case-related     matters;    court-ordered
11             obligations; or other activities as pre-approved by the
               Pretrial Services Office or supervising officer, as well as:
12
                  G   employment    G education       G religious services
13
                  G   medical, substance abuse, or mental health treatment
14
               G Maintain residence at a halfway house or community
15             corrections center, as deemed necessary by the Pretrial
               Services Office or supervising officer.
16
       (30) Other: Aftercare plan shall be presented and confirmed prior
17             to release from inpatient treatment at status conference.
18     (31    Defendant shall appear for a status hearing on April 24,
               2012, at 1:30 p.m., before the undersigned.
19
      DATED April 2, 2012.
20
                                 S/ CYNTHIA IMBROGNO
21                          UNITED STATES MAGISTRATE JUDGE
22
23
24
25
26
27
28


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